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Fill in this information to identify the case:

   

Debtor? ‘Martin B. Fuller

debtor2 «2s San A. Fuller

(Spouse, if filing)

 

United States Bankruptcy Court for the: District of Delaware

14-11460-BLS Sia)

Case number

 

 

Form 4100R
Response to Notice of Final Cure Payment 10/45

 

According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee's notice of final cure payment.

part 1: | Mortgage Information

U.S. Bank Trust National Association, as Trustee of Bungalow Series F Trust Court claim no. (if known):
21A

Name of creditor:

 

 

Last 4 digits of any number you use to identify the debtor's account; }=§$£=——-———- ——_ —_

 

 

 

Number Street

Townsend DE 19734

City State ZIP Code
eo Prepetition Default Payments

 

Check one:

Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
on the creditor's claim.

CJ Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default
on the creditor's claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date $
of this response is:

Part 3 | Postpetition Mortgage Payment

Check one:

@ Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of
the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

10 01 2019

The next postpetition payment from the debtor(s) is due on:
MM/ DD /YYYY

LI) Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5)
of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

Creditor asserts that the total amount remaining unpaid as of the date of this response is:
a. Total postpetition ongoing payments due:

 

(a) $
b. Total fees, charges, expenses, escrow, and costs outstanding: + (b) $
c. Total. Add lines a and b. ©) $

 

 

 

Creditor asserts that the debtor(s) are contractually
obligated for the postpetition payment(s) that first became ; !
due on: MM/ DD /YYYY

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14-11460-BLS

Debtor 1 Martin B. Fuller Case number (if known)

 

 

First Name Middle Name Last Name

EEE mies Payment History

If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs,
the creditor must attach an itemized payment history disclosing the following amounts from the date of the
bankruptcy filing through the date of this response:

all payments received:
all fees, costs, escrow, and expenses assessed to the mortgage; and
[_] all amounts the creditor contends remain unpaid.

rare: | a ai

The person completing this response must sign it. The response must be filed as a supplement to the creditor’s
proof of claim.

Check the appropriate box::

Q) | am the creditor,
| am the creditor's authorized agent.

| declare under penalty of perjury that the information provided in this response is true and correct
to the best of my knowledge, information, and reasonable belief.

Sign and print your name and your title, if any, and state your address and telephone number if different
from the notice address listed on the proof of claim to which this response applies.

& HE, Date fo, 2, 20] q

Signature

Gaston P Loomis Attorney

Print Title
First Name Middle Name Last Name

Marinosci Law Group, P.C.

 

Company

 

If different from the notice address listed on the proof of claim to which this response applies:

824 N. Market Street, Suite 901

 

 

Address
Number Street
Wilmington DE
City State ZIP Code
302 633 0700 gloomis@mlg-defaultlaw.com
Contact phone ( ) - Email

Form 4100R Response to Notice of Final Cure Payment page 2
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

IN RE:

MARTIN & SUSAN FULLER Case No. 14-11460-BLS

(Chapter 13)
Debtor

CERTIFICATE OF SERVICE

The undersigned certifies that the Response to Final Cure
Payment is being served on the Debtor, Debtor’s Counsel and the
Chapter 13 Trustee via United States Mail at the address listed

below as well as on all other parties via ECF electronic notice.

Martin B. Fuller
144 Lloyd Guessford Road
Townsend, DE 19734

Susan A. Fuller
144 Lloyd Guessford Road
Townsend, DE 19734

Erin K. Brignola

Cooper Levenson, P.A.
Fox Run Shopping Center
30 Fox Hunt Drive

Bear, DE 19701

Michael B. Joseph
Chapter 13 Trustee
824 Market Street
P.O. Box 1351
Wilmington, DE 19899

Date: October 2, 2019
Respectfully submitted,
By: /s/ Gaston P. Loomis

Gaston P. Loomis, Bar #4812
Marinosci Law Group, P.C.
